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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
                                                                  Civil Action No. 19-2367 (ABJ)
ATTORNEY GENERAL MERRICK GARLAND, )
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )           Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s October 23, 2023 Minute Order, the parties respectfully submit this

joint status report setting forth their positions on (1) whether either or both cases should be referred

for mediation at this time, (2) whether the cases should remain consolidated, and (3) the proposed

summary judgment briefing sequence and schedule.1




1
 The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
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    I. Mediation

Plaintiffs’ Position

       Plaintiffs’ position is that both cases should be referred for mediation at this time. Plaintiffs

are open to multiple mediator options and have reached out several times to Defendants to engage

in a discussion of the same, but Defendants were not prepared to discuss options because they had

not yet determined whether they were interested in mediation at all. The parties’ positions on

mediation are due today, as agreed in the parties’ last joint status report and ordered in the October

23 Minute Order.

Defendants’ Position

       Defendants report that, while they are currently engaged in a good-faith effort to determine

whether mediation would be constructive, Defendants have not yet reached a final determination

on whether to recommend that the cases be referred for mediation. Accordingly, Defendants also

have not yet determined their recommendation as to the choice of mediator. Defendants therefore

respectfully request that the Court allow the parties to file an additional joint status report no later

than November 17, 2023, with respect to whether Defendants agree that these cases should be

referred for mediation, and if so, the parties’ preference for the type of mediation.

    II. Consolidation

       A. Relevant Background2

       In 2019, Plaintiff Peter Strzok and Plaintiff Lisa Page filed separate lawsuits involving

overlapping, but not identical, claims and defendants. The portion of Plaintiffs’ lawsuits that




2
 This background section presents Plaintiffs’ characterizations of their claims; Defendants dispute
Plaintiffs’ characterizations.
                                                   2
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overlaps is the claim that Defendants DOJ and FBI violated the Privacy Act by disclosing

Plaintiffs’ text messages to members of the press on December 12, 2017.

       In August 2019, Mr. Strzok filed suit against Defendants DOJ, FBI, FBI Director

Christopher Wray (in his official capacity), and Attorney General Merrick Garland (in his official

capacity). The complaint seeks relief on four grounds: (1) unlawful termination of Mr. Strzok’s

employment because of his protected speech in violation of the First Amendment of the U.S.

Constitution; (2) infringement of Mr. Strzok’s right to due process in violation of the Fifth

Amendment of the U.S. Constitution; (3) violations of the Privacy Act relating to disclosures that

led to December 2, 2017 news articles published by the New York Times, Washington Post, and

other publications; and (4) violations of the Privacy Act relating to Defendants’ December 12,

2017 disclosure of Plaintiffs’ text messages to the press.

       In December 2019, Ms. Page filed a one-count complaint against DOJ and FBI, alleging

that the December 12, 2017 disclosure violated the Privacy Act.

       Defendants filed pre-discovery summary judgment motions in each case, and the parties

briefed those motions separately in the two cases. On March 13, 2020, the same day Defendants

filed their summary judgment motion in Ms. Page’s case, Defendants moved to consolidate the

cases. Strzok, ECF No. 42; Page, ECF No. 16. On March 30, 2020, the Court granted Defendants’

motion to consolidate “insofar as it requests consolidation for consideration of the pending

dispositive motions.” Strzok, ECF No. 45; Page, ECF No. 19. The Court decided the dispositive

motions in an oral ruling on September 25, 2020. Strzok, Minute Entry (Sept. 25, 2020); Page,

Minute Entry (Sept. 25, 2020).

       On October 13, 2020, following the parties’ submission of a joint status report and by

agreement of all parties, the Court ordered that the cases would remain consolidated for purposes



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of discovery. Strzok, Joint Status Report, ECF No. 50; Strzok, Minute Order (Oct. 13, 2020); Page,

Notice of Filing of Joint Status Report, ECF No. 29; Page, Minute Order (Oct. 13, 2020).

Discovery is now closed. Strzok, Minute Order (Oct. 23, 2023); Page, Minute Order (Oct. 23,

2023).

         B. Positions on Consolidation

         Consolidation for purposes of summary judgment. The parties agree that the cases

should remain consolidated for summary judgment proceedings. In particular, the parties believe

that it would promote efficiency and conserve judicial and party resources to have combined

summary judgment briefing as to the Privacy Act claims, which substantially overlap as to the

December 12, 2017 disclosure. Consistent with the October 23, 2023 Minute Order, the parties

contemplate that summary judgment briefing on the Privacy Act claims would include the filing

of an initial motion, a cross-motion/opposition, a reply/cross-opposition, and a cross-reply, with

Mr. Strzok and Ms. Page filing one set of joint briefs and Defendants DOJ and FBI filing another.

         The parties propose a parallel but separate track for briefing summary judgment issues with

respect to Mr. Strzok’s employment claims because Ms. Page is not a party to those claims and

there is no legal overlap between Mr. Strzok’s employment claims and Ms. Page’s single Privacy

Act claim.     This approach will conserve party resources and simplify the proceedings by

eliminating the need for Ms. Page to participate in aspects of Mr. Strzok’s briefing that are

unnecessary to the resolution of her claims.

         Consolidation for purposes of trial. To the extent any claims or issues in these cases

remain to be tried after potential mediation and summary judgment, the parties respectfully request

an opportunity to be heard on the structure and format of any trial or trials. At that time, the parties




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and the Court will be in a better position to address the appropriate grouping of claims, taking into

account which claims or portions of claims remain in each case, if any.

   III.      Proposed Summary Judgment Briefing Schedule

          The October 23 Minute Order provides: “If the parties do not agree to pursue a negotiated

resolution at this time, the joint status report should include a schedule for the briefing of motions

for summary judgment.” Because the parties have not, as of the time of this filing, agreed to pursue

a negotiated resolution, the parties submit the below proposed summary judgment schedules for

the Court’s consideration.




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Briefing on Privacy Act Claims             Briefing on Mr. Strzok’s Employment       Notes on Parties’ Positions
                                           Claims
Parties: Mr. Strzok, Ms. Page, DOJ, and
FBI                                        Parties: Mr. Strzok and All Defendants
Plaintiffs’ Position Defendants’           Plaintiffs’ Position Defendants’
                      Position                                  Position
Fri. Jan. 26, 2024:   Thurs. Feb. 29,      Fri. Jan. 26, 2024:  Thurs. Feb. 29,      Plaintiffs’ Position: Plaintiffs’
Defendants’           2024: Plaintiffs’    Defendants’          2024: Mr.            proposed deadline is 12 weeks
motion,               motion,              motion,              Strzok’s motion,     from today and would provide
memorandum in         memorandum in        memorandum in        memorandum in        ample time for all parties to
support, and          support, and         support, and         support, and         prepare their motions and cross-
statement of facts    statement of facts   statement of facts   statement of facts   motions, even accounting for the
                                                                                     holidays. Defendants’ proposed
                                                                                     deadline is 16 weeks and 6 days
                                                                                     (118 days) from today. Plaintiffs
                                                                                     propose that Defendants file first
                                                                                     for the reasons set out below.

                                                                                     Defendants’ Position: Defendants
                                                                                     propose that Plaintiffs file first for
                                                                                     the reasons set out below. If the
                                                                                     Court prefers that Defendants file
                                                                                     first, Defendants would require
                                                                                     until Feb. 29, 2024 to prepare their
                                                                                     filings for the reasons set out
                                                                                     below. While Defendants propose
                                                                                     that Plaintiffs file the first brief on
                                                                                     Feb. 29, Defendants have no
                                                                                     objection to Plaintiffs filing at an
                                                                                     earlier date. If they do so,
                                                                                     Defendants would be prepared to
                                                                                     file their cross-motion/opposition
                                                                                     within 60 days of Plaintiffs’ filing.

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Fri. Mar. 8, 2024:     Tues. April 30,       Fri. Mar. 8, 2024:    Tues. April 30,       Plaintiffs’ Position: Plaintiffs’
Plaintiffs’ cross-     2024: Defendants’     Mr. Strzok’s          2024: Defendants’     proposed deadline would allow 6
motion/opposition,     cross-                cross-                cross-                weeks for the preparation of cross-
single                 motion/opposition,    motion/opposition,    motion/opposition,    motions/oppositions. Defendants’
memorandum in          single                single                single                proposed deadline would allow 8
support, response      memorandum in         memorandum in         memorandum in         weeks and 5 days (61 days).
to Defendants’         support, response     support, response     support, response
statement of facts,    to Plaintiffs’        to Defendants’        to Mr. Strzok’s       Defendants’ Position: Defendants
and statement of       statement of facts,   statement of facts,   statement of facts,   submit that 60 days is a reasonable
additional facts       and statement of      and statement of      and statement of      amount of time to prepare two
                       additional facts      additional facts      additional facts      summary judgment briefs,
                                                                                         particularly in a case with
                                                                                         voluminous, multi-year discovery,
                                                                                         and Plaintiffs would not be
                                                                                         prejudiced by the less than 3-week
                                                                                         difference between the parties’
                                                                                         proposals.




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Fri. Apr. 19, 2024:    Mon. July 1, 2024:   Fri. Apr. 19, 2024:   Mon. July 1, 2024:   Plaintiffs’ Position: Plaintiffs’
Defendants’            Plaintiffs’          Defendants’           Mr. Strzok’s         proposed deadline would allow 6
reply/cross-           reply/cross-         reply/cross-          reply/cross-         weeks for the preparation of
opposition, single     opposition, single   opposition, single    opposition, single   replies/cross-
memorandum in          memorandum in        memorandum in         memorandum in        oppositions. Defendants’
support, and           support, and         support, and          support, and         proposed deadline would allow 8
response to            response to          response to Mr.       response to          weeks and 6 days (62 days).
Plaintiffs’            Defendants’          Strzok’s statement    Defendants’
statement of           statement of         of additional facts   statement of         Defendants’ Position: Defendants
additional facts       additional facts                           additional facts     maintain that 60 days is a
                                                                                       reasonable amount of time to
                                                                                       prepare two summary judgment
                                                                                       briefs, particularly in a case with
                                                                                       voluminous, multi-year discovery,
                                                                                       and Plaintiffs would not be
                                                                                       prejudiced by the less than 3-week
                                                                                       difference between the parties’
                                                                                       proposals.

Fri. May 17, 2024:     Thurs. Aug. 15,      Fri. May 17, 2024:    Thurs. Aug. 15,      Plaintiffs’ Position: Plaintiffs’
Plaintiffs’ cross-     2024: Defendants’    Mr. Strzok’s          2024: Defendants’    proposed deadline would allow 4
reply                  cross-reply          cross-reply           cross-reply          weeks for the preparation of cross-
                                                                                       replies. Defendants’ proposed
                                                                                       deadline would allow 6 weeks and
                                                                                       3 days (45 days).

                                                                                       Defendants’ Position: Defendants
                                                                                       maintain that 45 days is a
                                                                                       reasonable amount of time to
                                                                                       prepare two summary judgment
                                                                                       reply briefs, for the same reasons
                                                                                       as discussed above.


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Plaintiffs’ Positions Regarding Summary Judgment Briefing Schedules

       Entry of a Briefing Schedule. Because Defendants have not agreed to a negotiated

resolution of these cases as of the time of filing, Plaintiffs are submitting a proposed schedule

pursuant to the October 23 Minute Order. Plaintiffs defer to the Court regarding whether to enter

a summary judgment briefing schedule at this time.

       Order of Briefing. The parties disagree regarding the order in which the briefing of

summary judgment motions and cross-motions should occur. For three reasons, Plaintiffs propose

that Defendants file the initial motions. First, Plaintiffs understand that Defendants intend to move

for summary judgment on all claims, whereas Plaintiffs intend to move for summary judgment on

a subset of claims. Second, because both the Privacy Act claims and Mr. Strzok’s employment

claims turn overwhelmingly on allegations regarding Defendants’ conduct, Defendants’ initial

motions are likely to narrow the scope of briefing by clarifying which issues are not in dispute.

Third, Defendants will need to take threshold positions on key issues—for example, whether they

are invoking a Privacy Act “routine use”—before Plaintiffs can respond to those positions. For all

of these reasons, it makes far more sense for Defendants to provide their threshold positions in the

initial motions—and for Plaintiffs to respond comprehensively to those positions—than for the

parties to brief the issues in waves.

       Timing of Briefing.        Regardless of which party files first, Plaintiffs submit that

Defendants’ proposed schedule is needlessly protracted. The reasons Defendants cite below for

requiring until February 29, 2024 to file an opening set of summary judgment briefs—including

the volume of discovery, the intervening holidays, and the need to file simultaneous briefs—are

not Defendant-specific. Indeed, Plaintiffs’ counsel have a number of preexisting commitments in

the coming months, including trials scheduled for January-February and April-May. Plaintiffs



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expect that all parties will work together to accommodate localized conflicts, but also believe that

it is realistic for the parties to complete summary judgment briefing in less time than the nine-

month period proposed by Defendants.

Defendants’ Positions Regarding Summary Judgment Briefing Schedules

       Entry of a Briefing Schedule. Because Defendants are currently engaged in a good-faith

evaluation of whether mediation would be a constructive use of the parties’ time, and because

Defendants are requesting only a short extension of the time to finalize their determination as to

whether the cases should be referred for mediation, Defendants respectfully submit that the Court

need not enter a summary judgment briefing schedule at this time. If the parties ultimately agree

to refer the cases to mediation, it likely would not be advisable for the parties to be drafting

summary judgment briefs while simultaneously engaged in mediation. Accordingly, Defendants

respectfully suggest that rather than entering a summary judgment briefing schedule at this time,

the Court should allow the parties to file an additional joint status report in two weeks (November

17, 2023), at which time Defendants will have made a final determination with respect to

mediation. If the parties inform the Court in that status report that they have not agreed to refer the

cases for mediation, the Court should enter a summary judgment briefing schedule at that time.

Should the Court instead wish to set a briefing schedule at this time, Defendants’ proposed

schedule is set out in the above table.

       Order of Briefing. Defendants believe that it would be more efficient for the parties’ and

the Court’s time if Plaintiffs file the first set of summary judgment briefs. During the course of the

extensive, multi-year discovery in this case, Plaintiffs sought and received discovery relevant to a




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large number of issues and different theories of Plaintiffs’ cases.3 Because Plaintiffs bear the

ultimate burden of proof, and because it is not clear which theories and evidence Plaintiffs will

ultimately rely on, Defendants believe that it would more sharply focus the issues, and produce

the most useful briefing for the Court, for Plaintiffs to move first for summary judgment.

          Timing of Briefing. In light of the voluminous discovery produced in this case, the need

for the parties to negotiate regarding the handling and potential public filing of materials currently

designated confidential pursuant to the protective order, the intervening holidays, and the need to

file simultaneous briefs addressing different claims by different plaintiffs, Defendants respectfully

submit that they would require until February 29, 2024 to file an opening set of summary judgment

briefs. Given that estimate, and the fact that Defendants believe it would be most efficient for

Plaintiffs to move first (for the reasons discussed above), Defendants have proposed that Plaintiffs

file their first brief on February 29, 2024. However, if the Court agrees that Plaintiffs should move

first, Defendants would not oppose setting an earlier date for Plaintiffs to file their initial brief, and

Plaintiffs have above indicated that they believe the first set of briefs should be filed on January

26, 2024. Defendants would not oppose Plaintiffs filing their first set of briefs on January 26, 2024,

after which Defendants would suggest that subsequent briefs be filed on March 26 (Defendants’

cross-motion/opposition), May 25 (Plaintiffs’ reply/cross-opposition), and July 12 (Defendants’

reply).




3
  During discovery, the parties produced more than 115,000 pages of documents, served more
than 900 requests for admission, served more than 65 interrogatories, and took depositions of 17
individuals and a Rule 30(b)(6) deposition of the FBI.


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   IV.     Conclusion

         Plaintiffs’ statement. Plaintiffs have provided their positions on mediation, consolidation,

and a proposed summary judgment schedule above, as directed by the October 23 Minute Order.

         Defendants’ statement. For the reasons set forth above, Defendants respectfully request

that the Court order the parties to file an additional joint status report no later than November 17,

2023, at which point Defendants will inform the Court whether they agree that the cases should be

referred for mediation, and if so, the parties’ preference for a choice of mediator.




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Date: November 3, 2023                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on November 3, 2023, I caused a copy of the foregoing to be served

via CM/ECF on all counsel of record.

                                                   /s/ Amy Jeffress
                                                   Amy Jeffress
